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EXHIBIT A

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Exhibit A
Year Retained Retained SEC Source:
Interest Interests in Filing
in MBS Credit Card
(in Securitizations
billions) (in billions)
2000 $3,996 10-K hitps:/Awww.otcmarkets.com/filing/html ?id=5207 Ll&guid=wS_ 3UW
, GktwOht3h (p.73)
2001 $6,880 10-K httos:/Avww.otcmarkets.com/filing/html?id=1797462&guid=wS 3UW
GktwOhf3h (p. 82)
2002 $10,780 10-K https:/Awww.otemarkets.com/filing/htm|id=2206372&euid=wS _3UW.
GktwOht3h (p. 39)
2003 $9,996 10-Q bitps:/Avww.otcmarkets.com/filing/himl?id=2306013 &guid=wS_3UW
(First) iktwOhf3h (p.32)
2003 $9,200 10-Q https:/Awww.otemarkets.com/filing/html?id=2443906&guid=-wS_3UW.
(Second GktwOht3h (p. 39)
)
2003 $4,180 10-Q
(Third)
2003 $2,360 10-K https:/Avww.otcmarkets.com/filing/htm|?id=283 1653 &euid=wS 3UW
GktwOhf3h (p. 45)
2004 $2,120 10-Q hitps:/Awww.otemarkets.com/filing/himl?id=2953832&guid=wS 3UW
(First) GktwOht3h (p. 40)
2004 $1,770 10-Q https:/Avww.otcmarkets.com/filing/html?id=3 1122 17&guid=zv_ 3U6E
(Second [UXgkgi3h (p. 47)
)
2004 $1,790 10-Q https:/Avww.otcmarkets.com/filing/html 2id=32709 L&euid=zv_3U6E
(Third) UxgkKqj3h (p. 47)
2004 $1,620 10-K httos:/Awww.otcmarkets.com/filing/hum!?id=3536003 &guid=zy_ 3U6E
[XgkKqj3h (p. 52)
2005 $1,770 10-Q https:/Avww.otemarkets.com/filing/him|?id=3663289& guid=zv_3U6E
(First) IXgkqj3h (p. 43)
2005 $1,830 10-Q htips:/Avww.otcmarkets.com ‘filing/himl ?id=3 8425 3&puid=zv_3U6E
(Second [Xekaj3h (p. 49)
)
2005 $1,940 10-Q httos:/Avww.otcmarkets.com/filing/html?id=3997941 &guid=zv_3U6E
(Third)  Uxgkqj3h (p. 45)
2005 $2.800 $1,640 10-K https:/Awww.otcmarkets.com/filinge/html ?id=4277397 &guid=zv_3U6E
[Xghkqj3h (p. 47)
2006 $2,260 $1,750 10-Q hitps:/Avww.otcmarkets.com/filing/html?id=4408097 & guid=jmR3 UW
(First) Ul8iFmnEh (p. 47)
2006 $2,270 $1,740 10-Q https:/Avww.otemarkets.com/filing/htm)?id=4587552&guid=jmR3UW
(Second Ul8IFmnEh (p. 58)
)
2006 = $1,980 $1,720 10-Q https:/Avww.otemarkets.com/filing/html?id=4 754508 euid=imR3UW
(Third) = Ul8tFimnEh (p. 57)
2006 $1,900 $1,470 10-K https://Awww.otemarkets.com/filing/htm!?id=5003677&guid=jmR3UW
U18lFmnEh (p. 45)
2007 $2.710 $1,430 10-Q https:/Avww.otomarkets.com/filing/html ?id=5 168665 &euid=|mR3UW
(First) Ul8tPmnEh (p. 42)
2007 $2,920 $1,590 10-Q httos:/Avww.otcmarkets.com/filing/himl?id=5358076& guid=jmR3UW
(Second Ul8tFmnEh (p. 43)
)
2007 $2,290 $1,680 10-Q https:/Awww.otemarkets.com/filing/html ?id=55323 86&euid=]mR3 UW

(Third) _UI8IFmnEh (p. 50)

2007

2008

$1,710
$1,440

1,230

$116,552

Case 08-12229-MFW

$1,840
$1,830

$1,560

$18,250

10-K

10-Q
(First)
10-Q
(Second

)

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https:/Avww.otcmarkets.com/filing/html 2id=5 769335 &euid=jmR3IUW
Ul8iEmnEh (p. 48)
hitps:/Avww.otemarkets.com/filing/html?id=5927846& guid=imR3UW
U18lFmnEh (p. 48)
hitps://www.otemarkets.com/filing/html?id=6093324&guid=|mR3UW
UI8iFmnEh (p. 60)

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EXHIBIT B

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Case 08-12229-MFW Doc 12704-1 Filed 12/19/19 Page 5 of 54

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"Sy
p ros kau er » Proskauer Rose LLP Eleven Times Square New York, NY 10036-8299

Brian S. Rosen
August 9, 2019 Member of the Firm

d +1.212.969.3380
f 212.969.2900
brosen@proskauer.com

The Honorable Richard G. Andrews naan proskauer-com
United States District Judge

J. Caleb Boggs Federal Building

844 N. King Street, Unit 9, Room 6325

Wilmington, DE 19801

Re: Alice Griffin v. WMI Liquidating Trust, Case No. 1:19-cv-00775-RGA

Dear Judge Andrews:

This firm and Richards, Layton & Finger, P.A. represent WMI Liquidating Trust (the “Trust”) in
connection with the above-referenced appeal from the Bankruptcy Judge Walrath’s Order
Overruling First Omnibus Objection of Alice Griffin with Respect to Allowed Claims of Morgan
Stanley & Co., Incorporated, Credit Suisse Securities ( USA) LLC, Goldman Sachs & Co., On
Behalf of Themselves and Certain Underwriters, dated April 24, 2019 (the “Order’”). We submit
this letter in accordance with Rule 8019(a) of the Federal Rules of Bankruptcy Procedures (“Rule
8019(a)”) regarding the presentation of oral argument and to correct a misrepresentation made in
Ms. Griffin’s reply brief filed on August 5, 2019.

Pursuant to Rule 8019(a), the Trust hereby informs the Court that, based upon the principal and
reply briefs submitted, together with the appendix of documents provided to the Court, a full and
complete record has been provided, sufficient to inform the Court as to all of the issues
presented.

With respect to Ms. Griffin’s reply brief, footnote 4 therein attempts to describe or characterize
matters associated with the Bankruptcy Court-approved Global Settlement Agreement and
asserted ownership of over $36 billion of mortgage-backed securities. While none of the
foregoing bears upon the substance of the instant appeal from the Order, the misrepresentations
misstate the public record and, based upon experience, may incite others to make similar claims
and create unrest among other former holders of publicly-held equity interests. In order not to
mislead the public, the Trust believes that the record needs to be clarified.

Beijing | Boca Raton | Boston | Chicago | Hong Kong | London { Los Angeles | New Orleans | New York | Newark | Paris | S40 Paulo {| Washington, DC
110003852v2

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Proskauer

The Honorable Richard G. Andrews
August 9, 2019
Page 2

As reflected in the Schedules of Assets and Liabilities filed with the Bankruptcy Court, as of
September 26, 2008 (the “Petition Date”), Washington Mutual, Inc. (“WMI”) and WMI
Investment Corp., the two debtors in the chapter |] cases, owned mortgage-backed securities and
collateral mortgage obligations (collectively, “MBS”) having a market value of $76.2 million,
not the amount referenced by Ms. Griffin which, in reality, was reflective of MBS assets owned
by WMI and its consolidated entities including subsidiaries and affiliates, and was over two
times the amount actually held three months earlier and reflected in documents filed with the
Securities and Exchange Commission. All such assets remaining on the Petition Date were
liquidated and the proceeds thereof were distributed to creditors in accordance with the terms and
conditions of the confirmed chapter 11 plan.

Respectfully submitted,
/s/ Brian S. Rosen

Brian S. Rosen

cc: Alice Griffin, Esq.
Charles E. Smith, Esq.
John Maciel
Marcos Ramos, Esq.
Amanda Steele, Esq.
Cory Kandestin, Esq.
BSR/w

110003852v2

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EXHIBIT C

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An Announcement by the Steering Committee of Ad Hoc Committee
of Washington Mutual Bank- holders

March 02, 2016 04:35 PM Eastern Standard Time

NEW YORK--(BUSINESS WIRE)—Between July and October 2015, a mediation (the “First Mediation’) took place between
the members of the Steering Committee (“Steering Committee”) of the Ad Hoc Committee of Washington Mutual Bank
(‘WMB’) Senior Note Holders and certain holders (“Institutional Investors”) of residential mortgage-backed securities
(*“RMBS’) sponsored by WMB. Among other terms, the last proposal made by the Steering Committee to the Institutional
Investors, reflected in a proposed memorandum of understanding, included an allowed unsecured claim against the WMB
Receivership in the amount of approximately $2.28 billion on behalf of the WWMB RMBS trusts for which Deutsche Bank
National Trust Co. ("Deutsche Bank”) serves as trustee (not including trusts with mortgage repurchase liability claims for
which Washington Mutual Mortgage Securities Corporation is obligor), Other terms and conditions of the last proposal
included, but were not limited to, provisions regarding the possible reduction of Deutsche Bank's claims against the WMB
Receivership in the event of a successful appeal in the WMB Litigation (defined below), the payment of counsel fees, and
various procedural details. [t was contemplated that the terms would be reflected in an executed memorandum of
understanding, and then would be fully documented in settlement agreements that would include Deutsche Bank and the
FDIC. The Steering Committee and the Institutional Investors have not executed the memorandum of understanding or any
settlement agreement. An agreement between the parties to the First Mediation was meant to be a step towards a global
settlement of the claims asserted by Deutsche Bank on behalf of certain WMB RMBS trusts in the action Deutsche Bank
Nat'l Trust Co. v. FDIC, et al., No. 09-1656 (D.D.C.), and of the indemnity claims asserted against the WMB Receivership
by JPMorgan Chase Bank N. A. (“JPMorgan”) (collectively, the “WMB Litigation”). The members of the Steering Committee
understand that a mediation among the named parties to the WMB Litigation (the “Second Mediation”) commenced in
December 2015. The members of the Steering Committee further understand that the legal and financial advisors to the Ad
Hoc Committee may have information regarding the Second Mediation, but no information regarding that mediation has
been shared with members of the Steering Committee.

Contacts

Group Gordon, Inc.

Lana Gersten, +1 312-846-1655
Igersten@groupgordon.com

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EXHIBIT D

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August 13, 2019

Via First Class Mail

The Honorable Richard G. Andrews
United States District Judge

J. Caleb Boggs Federal Building

844 N. King Street, Unit 9, Room 6325
Wilmington, Delaware 19801

Re: Letter of WMI Liquidating Trust Dated August 9, 2019 (Alice Griffin v. WMI
Liquidating Trust, Case No. 1:19-cv-00775-RGA)

Dear Judge Andrews:

Brian Rosen, Esq., counsel for the WMI Liquidating Trust (the Trust”) as successor in interest to
Washington Mutual, Inc. (“WMI”), submitted a letter to this court (the “Court”) dated August 9, 2019 (the
“Letter”) ostensibly to express the Trust’s opinion that, pursuant to Federal Rule of Bankruptcy Procedure
8019, this Court should not hear oral argument for my appeal. However, the Letter’s dispute of a factual
statement in my reply brief undercuts his request to dispense with oral argument; as, among other things,
oral argument provides an opportunity to challenge the opposition’s arguments and factual assertions. I
disagree with the Trust’s intimation that no oral argument is required and hereby formally request oral
argument for the appeal.

Moreover, as the Trust has opened the door regarding the value of MBS owned by WMI and WMI
Investment Corp. (“WMIIC”) (WMI and WMIIC are, collectively, the “Debtors”) on September 25, 2008,
due process requires that I avail myself of the opportunity to respond to its claim that I misrepresented the
value of WMI’s MBS holdings on June 30, 2008.

I. The $36 Billion MBS Figure Cited in My Reply is Office of Thrift Supervision’s Data

After the Federal Deposit Insurance Corporation (the “FDIC”) seized WMI’s two banking entities,
Washington Mutual Bank (“WMB7”) and its subsidiary, Washington Mutual Bank fsb (“WMBfsb”), the
Office of Thrift Supervision (the “OTS”) created a Consolidated Statement of Condition (“CSC”) for each
of WMB and WMBfsb for the period ending June 30, 2008. The CSC for WMB stated it held $18.896
billion in MBS and the CSC for WMBfsb stated that it held $16.878 billion in MBS for a combined value
of $35.78 billion. The CSC for WMB is attached as Exhibit A hereto and the CSB for WMBfsb is attached
as Exhibit B hereto. I used the combined CSC figures in footnote 4 of my reply brief. Obviously, this is
substantially more than the $18.241 billion in WMI’s June 2008 10-Q (the “June 2008 10-Q), but the OTS
had an obligation to account for everything it seized from WMI's enterprise, and that would include off-
balance sheet assets and the $18.241 billion in MBS discussed in the June 2008 10-Q is on-balance sheet,
only.’ Moreover, although the FDIC seized all of WMI’s nearly $350 billion in assets it refers to them only

' Similarly, there is a discrepancy between the assets and liabilities reported in the June 2008 10-Q and the CSC’s for
the two banking entities. The June 2008 10-Q stated $309.7 billion in assets and $283.6 billion in liabilities. However,
the combined CSCs total $353 billion in assets and $295.6 billion in liabilities. Again, the CSC figures likely include
both on and off-balance sheet assets. Off-balance sheet assets are assets unavailable to pay claims of WMI’s creditors
(e.g., assets held in a custodial capacity, and can include assets in which WMI has a beneficial interest but not legal
ownership). Nothing in WMI’s Chapter 11 petition addresses whether WMI had beneficial interests in any entity
whose property it held in a custodial capacity (e.g., a ‘spendthrift’ trust ({i-e., a trust where the beneficiary has no
discretion to distribute income or corpus so no creditor — including the FDIC — can reach the trust’s assets)). WMI's

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Letter to the Hon. Richard G. Andrews
August 13, 2019
Page 2

as property of WMB or WMBfsb as it only has jurisdiction over those entities and would not acknowledge
that it seized property of any other entity.

II. WMI’s Statement About Value of MBS Holdings in its Chapter 11 Petition is Not Dispositive

The June 2008 10-Q contained a section entitled ‘Off-Balance Sheet Activities’ describing its
securitization activities and including disclosures about its retained interests in MBS? revealing that during
that quarter the Debtors retained $1.23 billion in MBS. WMI had made similar disclosures for over a
decade and the cumulative retained interests disclosed were at least $116.6 billion for MBS and $18.25
billion in credit card securitizations. See Exhibit C.

Mr. Rosen’s letter mentions that WMI’s deciared $76.2 million in MBS in its Chapter 11 petitions,

a rounding error balanced against $116.6 billion in MBS; however, this is consistent with WMI’s prior
disclosures.

Very early in the Chapter 11 process WMI stated that along with the two banking entities the FDIC
seized substantially all of its books and records, making it very difficult for it to address Chapter 11 issues
and affairs of its remaining businesses.’ Obviously, financial records and assets were likely among the
boxes of documents seized from WMI’s corporate headquarters. Accordingly, the miniscule $72.6 million
in MBS in WMI’s possession on September 26, 2008 doesn’t mean the FDIC didn’t seize MBS certificates
in the names of WMI’s non-banking affiliates and retain them pursuant to its avoidance powers.* Very
likely that is precisely what the FDIC did with respect to financial assets its seized. The onus was on WMI
to file a claim for any alleged improperly seized assets.°

I. Division of Tax Refunds Suggests the Debtors Owned More than .2% of the MBS

Passage of the Worker, Homeownership, and Business Assistance Act of 2009 allowed WMI to
obtain over $6 billion through tax carrybacks; money to be shared among the members of the tax group
consisting of the Debtors and their former banking entities. Eventually, WMI ended up with about 20% of
the tax refunds and JPMorgan Chase and the FDIC received the balance. The allocation was heavily
negotiated and ostensibly intended to reflect the fact that the banking subsidiaries had created a substantial

senior management must have understood that in the event of a seizure the FDIC and its creditors would have recourse
through avoidance powers. It seems unlikely there was no vehicle to protect MBS assets from seizure, which, given
WMI’s scale in the industry should have been its piggybank. Upon information and belief, there are no public records
of WMI’s former senior management making disclosures regarding the foregoing.

? The June 2008 10-Q: “When the Company sells or securitizes loans that it originated. it... may retain senior,
subordinated, residual, and other interests, all of which are considered retained interests in the sold or securitized
assets. Retained interests in mortgage loan securitizations, excluding the rights to service such loans, were $1.23
billion at June 30, 2008, of which $1.13 billion are of investment-grade quality. Retained interests in credit card
securitizations were $1.56 billion at June 30, 2008, of which $421 million are of investment-grade quality.”
https:/Avww.otemarkets.com/filing/html?id=6093324&suid=|mR3IUWUI8IFmnEh (p. 60).

3 Between the two Debtors nearly all of their financial assets were taken except for those owned by WMIIC, WMI’s
wholly-owned subsidiary and investment management arm. WMIIC had nearly $1 billion and this cache kept the
Debtors afloat pre-confirmation.

4 See, e.g, 12 U.S.C. § 1821(d)(17).

> During the pre-confirmation phase the Official Committee of Equity Security Holders of Washington Mutual, Inc.
requested an examiner in the Debtors’ cases. The request was granted and while the examiner attempted to get
discovery of seized property the FDIC refused and ultimately the U.S. Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) agreed that the FDIC was within its rights to decline to provide information.

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Letter to the Hon. Richard G. Andrews
August 13, 2019
Page 3

portion of the enterprise’s revenue. In light of the foregoing, it seems unlikely that WMI as the corporate

parent would keep for itself less than .20% of the $116.6 billion in MBS generated by the enterprise’s
securitization activities.°

IV. Section 1.183 of the Plan Suggests Assets Could Be Released After the Cases are Closed

Section 1.183 of the Debtors’ plan of reorganization (the “Plan”) preserves a claim for the Debtors
against the FDIC acting as receiver (the “FDIC-R”). This provision would be superfluous if there could be
no possibility of the Debtors or their successor needing to preserve a claim against the FDIC-R. The persons
responsible for the Plan are a quartet of hedge funds who held claims senior to equity and were adverse to
retail equity receiving any recovery. Those hedge funds negotiated the Global Settlement Agreement and
the Plan. A discussion of the hedge funds’ involvement in the Debtors’ cases is attached as Exhibit D.

As very sophisticated distress players the hedge funds involved in the Debtors’ affairs would not
have demanded that the FDIC-R pledge its own assets as security for any obligations to the Debtors that

could not be satisfied by the receivership’s assets unless they reasonably believed such assets could exist.

Conclusion

Ifa request for no oral argument was his sole object Mr. Rosen would not have mentioned the value
of the Trust’s MBS. The Letter was obviously a subterfuge for a sur-reply. Moreover, Mr. Rosen’s opinion
that “a full and complete record . . . sufficient to inform the Court as to all of the issues presented” is not
dispositive, and within my capability I would be happy to supply the Court with any additional information
respecting the appeal it deems necessary to reach its decision.

Respectfully,

/s/Alice Griffin
Alice Griffin, Pro Se

121 East 12 Street, #7C
New York, NY 10003

Ce:

Via Email

Brian Rosen, Esq. Cory Kandestin, Esq.
Charles E. Smith, Esq. Benjamin Finestone, Esq.
John Maciel Michael A. Rosenthal, Esq.
Marcos Ramos, Esq. Alan Moskowitz, Esq.
Amanda Steele, Esq. William Bowden, Esq.

° Again, given that WMI’s senior management understood that the banking entities were subject to seizure by the
FDIC and that their wealth in WMI equity could disappear along with such a seizure, human nature suggests it is
unlikely that these managers left the lion’s share of MBS assets in the names of the banking entities. Stupidity is a
possible answer, but not a likely one.

TER Schedule 3¢

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Washington Mutual Bank |
2273 NORTH GREEN VALLEY PARKWAY
HENDERSON , NV 89014

Docket Number: 8551

for the quarter ending: 06/30/2008

Schedule - SC

Office of Thrift Supervision
2008 Thrift Financial Report

Consolidated Statement of Condition

Skip Navigation
Information Page | Search | Report Options

ASSETS Lines
Cash, Deposits, and Investment Securities: Total SC11
Cash and Non-Interest-Earning Deposits SC110
Interest-Earning Deposits in FHLBs SC112
Other Interest-Earning Deposits SC118
Federal Funds Sold and Securities Purchased Under Agreements to Resell SC125
U.S. Government, Agency, and Sponsored Enterprise Securities SC130
Equity Securities Subject to FASB Statement No. 115 S$C140
State and Municipal Obligations SC180
Securities Backed by Nonmortgage Loans SC182
Other Investment Securities SC185
Accrued Interest Receivable SC191
Mortgage-Backed Securities: Total SC22
Pass-Through:
Insured or Guaranteed by an Agency or Sponsored Enterprise of the U.S. SC210
Other Pass-Through SC215
Other Mortgage-Backed Securities (Excluding Bonds):
Issued or Guaranteed by FNMA, FHLMC, or GNMA $C217
Collateralized by Mortgage-Backed Securities Issued or Guaranteed by FNMA,
FHLMC, or GNMA $C219
Other SC222
Accrued Interest Receivable SC228
General Valuation Allowances $C229
Mortgage Loans: Total SC26
Construction Loans on:
1-4 Dwelling Units SC230
Multifamily (5 or More) Dwelling Units $C235
Nonresidential Property SC240

(Report in
Thousands
of Dollars)

17,316,903
3,403,290
1,399
1,831,679
2,750,000
3,548,262
242,911
1,651,475
2,584,596
1,250,241
53,050

18,896,245

6,182,298
1,328

2,985,689
0

9,630,721
96,209
0

222,681,859
1,070,797

1,321,362
1,060,582

8/19/2010 8:32 AM

TER Schedule SC

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Permanent Mortgages on:
1-4 Dwelling Units:
Revolving, Open-End Loans
All Other:
Secured by First Liens
Secured by Junior Liens
Multifamily (5 or More) Dwelling Units
Nonresidential Property (Except Land)
Land

Accrued Interest Receivable
Advances for Taxes and Insurance

Allowance for Loan and Lease Losses
Nonmortgage Loans:

Commercial Loans:
Secured
Unsecured
Lease Receivables

Consumer Loans:
Loans on Deposits
Home Improvement Loans (Not secured by real estate)
Education Loans
Auto Loans
Mobile Home Loans
Credit Cards
Other, Including Lease Receivables
Accrued Interest Receivable

Allowance for Loan and Lease Losses

Repossessed Assets:
Real Estate:
Construction
1-4 Dwelling Units
Multifamily (5 or More) Dwelling Units
Nonresidential (Except Land)
Land
U.S. Government-Guaranteed or -Insured Real Estate Owned

Total

Total

Total

Total

SC251

SC254
$C255
SC256
SC260
SC265

SC272
$C275

S$C283

SC31

SC32

SC300
$C303
SC306

SC35

$C310
SC316
$C320
$C323
$C326
$C328
S$C330
SC348

SC357

SC40

$C405
SC415
S$C425
SC426
$C428
$C429

53,402,830

124,902,864
4,830,926
32,051,624
9,200, 152
899,275

1,251,029
136,611

7,446,193

11,783,070

1,952,747
322,211
1,627,745
2,791

10,765,757
13,199
718

181
10,588,689
162,792
53,772

989,206

1,531,807

623
1,491,661
13,640

0

2,437
20,741

8/19/2010 8:32 AM

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Other Repossessed Assets

SC430 2,705
General Valuation Allowances SC 44] 0
Real Estate Held for Investment SC45 5,185
Equity Investments Not Subject to FASB Statement No. 115: Total SC51 5,493,079
Federal Home Loan Bank Stock SC510 3,498,281
Other SC540 1,994,798
Office Premises and Equipment SC55 2,542,547
Other Assets: Total SC59 26,770,919
Bank-Owned Life Insurance:
Key Person Life Insurance SC615 0
Other SC625 5,072,534
Intangible Assets:
Servicing Assets On:
Mortgage Loans SC642 6,175,062
Nonmortgage Loans SC644 0
Goodwill and Other Intangible Assets SC660 7,604,409
Interest-Only Strip Receivables and Certain Other Instruments SC665 103,233
Other Assets SC689 7,815,681
Memo: Detail of Other Assets
Code Amount
SC691 9 SC692 2,473,217
SC693 20 S$C694 1,773,722
SC697 3 SC698 1,543,906
Report in
Line Dollars
General Valuation Allowances SC699 0
Total Assets SC60 307,021,614
LIABILITIES
Deposits and Escrows: Total SC71 188,260,793
Deposits SC710 181,867,130
Escrows SC712 6,428,814
Unamortized Yield Adjustments on Deposits and Escrows SC715 -35,151
Borrowings: Total SC72 82,878,685
Advances from FHLBank SC720 58,363,124

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TER Schedule SC Case 08-12229-MFW Doc 1270 g

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Federal Funds Purchased and Securities Sold Under Agreements to Repurchase SC730 288,851
Subordinated Debentures (Including Mandatory Convertible Securities and 7,861,598
Limited-Life Preferred Stock) SC736
Mortgage Collateralized Securities Issued:
CMOs (including REMICs) SC740 0
Other Borrowings SC760 16,365,112
Other Liabilities: Total SC75 7,590,704
Accrued Interest Payable - Deposits SC763 364,568
Accrued Interest Payable - Other SC766 543,089
Accrued Taxes SC776 0
Accounts Payable SC780 861,842
Deferred Income Taxes SC790 0
Other Liabilities and Deferred Income SC796 55,821,205
Memo: Detail of Other Liabilities
Code Amount
SC791 10 SC792_ 1,658,077
SC794 20 SC795 810,390
SC797 99 SC798 744,694
Report in
Thousands of
Line Dollars
Total Liabilities SC70 278,730,182
Minority Interest SC800 =. 3,911,685
(Report in
line Thousands of
Dollars)
EQUITY CAPITAL
Perpetual Preferred Stock:
Cumulative $C812 0
Noncumulative SC814 0

Common Stock:

Par Value SC820 33]
Paid in Excess of Par SC830 28,235,896
Accumulated Other Comprehensive Income: Total SC86 -872,782
Unrealized Gains (Losses) on Available-for-Sale Securities SC860 -844,944
Gains (Losses) on Cash Flow Hedges SC865 -27,838
Other SC870 0

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Retained Earnings SC880 -2,983,698
Other Components of Equity Capital SC891 0
Total Equity Capital SC80 24,379,747
Total Liabilities, Minority Interest, and Equity Capital SC90 307,021,614

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Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 9 of 45 PagelD #: 2104
Washington Mutual Bank
2273 NORTH GREEN VALLEY PARKWAY Office of Thrift Supervision
HENDERSON , NV 89014 2008 Thrift Financial Report
Docket Number: 8551 Schedule - SO
for the quarter ending: 06/30/2008 Consolidated Statement of Operations
Skip Navigation
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(Report in
Thousands
of Dollars)
For the
Lines Quarter
Interest Income: Total SO! 4,254,225
Deposits and Investment Securities SOLIS 175,999
Mortgage-Backed Securities $0125 321,733
Mortgage Loans SO141 3,325,440
Prepayment Fees, Late Fees, and Assumption Fees for Mortgage Loans $0142 25,333
Nonmortgage Loans:
Commercial Loans and Leases SO160 34,249
Prepayment Fees, Late Fees, and Assumption Fees for Commercial Loans $O162 71
Consumer Loans and Leases SO171 278,858
Prepayment Fees, Late Fees, and Assumption Fees for Consumer Loans $0172 92,542
Dividend Income on Equity Investments Not Subject to FASB Total
Statement No. 115: SO18 41,544
Federal Home Loan Bank Stock SO181 41,541
Other SO185 3
Interest Expense: Total SO21 1,840,780
Deposits $0215 1,113,673
Escrows $0225 1,605
Advances from FHLBank $0230 504,827
Subordinated Debentures (Including Mandatory Convertible Securities) $0240 106,594
Mortgage Collateralized Securities Issued $0250 0
Other Borrowed Money $0260 114,081
Capitalized Interest $0271 0
Net Interest Income (Expense) Before Provision for Losses on Interest-Bearing
Assets $0312 2,454,989
Net Provision for Losses on Interest-Bearing Assets $0321 5,912,064
Net Interest Income (Expense) After Provision for Losses on Interest-Bearing
Assets $0332 = -3,457,075

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Noninterest Income: Total SO42
Mortgage Loan Servicing Fees $0410
Amortization of and Fair Value Adjustments to Loan Servicing Assets and Loan

Servicing Liabilities SO411
Other Fees and Charges $0420
Net Income (Loss) from:

Sale of Assets Held for Sale and Available-for-Sale Securities $0430
Operations and Sale of Repossessed Assets S0461
LOCOM Adjustments Made to Assets Held for Sale $0465
Sale of Securities Held-to-Maturity $0467
Sale of Loans Held for Investment $0475
Sale of Other Assets Held for Investment $0477
Gains and Losses on Financial Assets and Liabilities Carried at Fair Value $0485
Other Noninterest Income $0488
Memo: Detail of Other Noninterest Income
Code Amount

$0489 99 $0492: 158,429

$0495 99 $0496 64,781

$0497 14 $0498 64,726

Line

Noninterest Expense: Total SOS51
All Personnel Compensation and Expense $0510
Legal Expense $0520
Office Occupancy and Equipment Expense $0530
Marketing and Other Professional Services SO540
Loan Servicing Fees $0550
Goodwill and Other Intangibles Expense $0560
Net Provision for Losses on Non-Interest-Bearing Assets $0570
Other Noninterest Expense $0580

Memo: Detail of Other Noninterest Expense
Code Amount
$0581 8 $0582: 123,110
$0583 7 $0584 112,848
$0585 18 $0586 75,338
Line
Income (Loss) Before Income Taxes: S060

577,438
419,908

240,664
1,036,777

-542,773
-38,147
-9,420

0

0

-827
-926,126
397,382

Report in
Thousands
of Dollars
2,403,755
926,546
16,422
409,534
129,595
0
30,390
140,182
751,086

Report in
Thousands
of Dollars

-5,283,392

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Income Taxes: Total
Federal

State, Local, and Other

Income (Loss) Before Extraordinary Items and Effects of Accounting Changes

Extraordinary Items, Net of Tax Effect, and Cumulative Effect of Changes in
Accounting Principles

NET INCOME (LOSS)

SO71
SO710
$0720

S081

SO811

SO91

-2,093,935
1,870,209
-223,726

~3,189,457

-3,189,457

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Washington Mutual Bank | Office of Thrift Supervision
2273 NORTH GREEN VALLEY PARKWAY 2008 Thrift Financial Report
HENDERSON , NV89014 Schedule - VA

Docket Number: 8551 Consolidated Valuation Allowances and Related Data
for the quarter ending: 06/30/2008

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(Report in Thousands of Dollars for the Quarter)

Reconciliation Valuation Allowances
General Specific Total
Beginning Balance VAI05 VA108 VAILO
4,712,810 1,223 4,714,033
Add or Deduct:
Net Provision for Loss VALI5 VAI18 VA120
. 5,912,064 140,182 6,052,246
Transfers VA125 VA128
-18,761 18,761
Add:
Recoveries VAI35 VA140
42,702 42,702
Adjustments VAI45 VA148 VA150
0 0 0
Deduct:
Charge-offs VAI55 VA158 VAI160
2,213,416 140,182 2,353,598
Ending Balance VAI65 VA168 VA170
8,435,399 19,984 8,455,383

Charge-offs, Recoveries, and Specific Valuation Allowance Activity
(Report in Thousands of Dollars for the Quarter)

Specific
Valuation
General Valuation Allowance
Allowances Provisions

& Transfers
from General
Charge-Offs Recoveries Allowances Adjusted Net

(VA155) (VA135) (VA118+VA128) Charge-offs
Deposits and Investment Securities VA38 VA39
0 0
Mortgage-Backed Securities VA370 VA371 VA372 VA375
0 0 0 0

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Mortgage Loans: Total

Construction:
1-4 Dwelling Units

Multifamily (5 or More) Dwelling
Units

Nonresidential Property
Permanent:
1-4 Dwelling Units:

Revolving, Open-End Loans

All Other:
Secured by First Liens

Secured by Junior Liens

Multifamily (5 or More) Dwelling
Units

Nonresidential Property (Except
Land)

Land
Nonmortgage Loans: Total
Commercial Loans

Consumer Loans:
Loans on Deposits

Home Improvement Loans
Education Loans
Auto Loans

Mobile Home Loans

VA46
1,990,413

VA420
3,302

VA430

0
VA440
6

VA446
665,439

VA456
1,121,569
VA466
196,129

VA470
2,856
VA480

1,112
VA490
0

VA56
223,003
VA520
49,758

VAS510
]
VA516
0
VA530
0
VA540
6
VA550

VA47
20,681

VA421
0

VA43]

0
VA441

VA48
3,237

VA422
1,651
VA432

0
VA442

VA49
1,972,969

VA425
4,953

VA435

0
VA445
6

VA449
654,441

VA459
1,120,870
VA469
187,986

VA475
2,803
VA485

1,910
VA495
0

VA59
216,506
VA525
59,318

VASIS
-1
VAS19
0
VA535
0
VA545
-43
VASS5S5

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0 9 0 -9
Credit Cards VA55S6 VA557 VA558 VA559
168,604 15,816 0 152,788
Other VA560 VAS561 VA562 VA565
4,634 181 0 4,453
Repossessed Assets: Total VA60 VA62 VA65
0 140,182 140,182
Real Estate:
Construction VA605 VA606 VA607
0 0 0
1-4 Dwelling Units VA613 VA614 VA615
0 140,182 140,182
uRie (5 or More) Dwelling VA616 VA617 VA6I8
0 0 0
Nonresidential (Except Land) VA625 VA626 VA627
0 0 0
Land VA628 VA629 VA631
0 0 0
Other Repossessed Assets VA630 VA632 VA633
0 0 0
Real Estate Held for Investment VA72 VA75
0 0
0 0
Other Assets VA930 VA931 VA932 VA935
0 0 0 0
OTHER ITEMS
(Report in
Thousands of
Dollars)
Troubled Debt Restructured:
Amount this Quarter VA940 1,623,144
Amount Included in Schedule SC in Compliance with Modified Terms VA942 1,897,207
Mortgage Loans Foreclosed During the Quarter: Total VA9S5 861,134
Construction VA951 0
Permanent Loans Secured By:
1-4 Dwelling Units VA952 853,132
Multifamily (5 or More) Dwelling Units VA953 7,166
Nonresidential (Except Land) VA954 836
Land VA955 0

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Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 15 of 45 PagelD #: 2110

Purchased Impaired Loans Held for Investment Accounted for in Accordance with
AICPA SOP 03-3 (Exclude Loans Held for Sale):

Outstanding Balance (Contractual) VA980 = 59,149
Recorded Investment (Carrying Amount Before Deducting Any Loan Loss Allowances) VA981_ 45,992
Allowance Amount Included in Allowance for Loan and Lease Losses (SC283, SC357) VA985 0

Line items VA960 through VA975 are not available to the public for individual
institutions.

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Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 16 of 45 PagelD #: 2111
Washington Mutual Bank
2273 NORTH GREEN VALLEY PARKWAY Office of Thrift Supervision
HENDERSON , NV 89014 2008 Thrift Financial Report
Docket Number: 8551 Schedule - SI
for the quarter ending: 06/30/2008 | Consolidated Supplemental Information
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(Report in
Thousands of
Miscellaneous: Lines Dollars)
Number of Full-time Equivalent Employees $1370 41,360
Financial Assets Held for Trading Purposes S1375 2,172,260
Financial Assets Carried at Fair Value Through Earnings S1376 3,945,982
Financial Liabilities Carried at Fair Value Through Earnings S1377 810,390
Available-for-Sale Securities S1385 24,027,524
Assets Held for Sale $1387 1,878,668
Loans Serviced for Others SB90 442,740,263
Residual Interests:
Residual Interests in the Form of Interest-Only Strips $1402 117,973
Other Residual Interests S1404 2,110,622
Qualified Thrift Lender Test:
Actual Thrift Investment Percentage at Month-end:
First Month of Quarter SI581 95.10 %
Second Month of Quarter SI582 95.42 %
Third Month of Quarter SI583 94.81 %
IRS Domestic Building and Loan Test:
Percent of Assets Test S1585 0.00 %
Do you meet the DBLA business operations test? SI586 No
Aggregate Investment in Service Corporations SI588 1,264,532
Extensions of credit by the reporting association (and its controlled
subsidiaries) to its executive officers, principal shareholders, directors, and Report in Thousands of
their related interests as of the report date: Line Dollars

Aggregate amount of all extensions of credit SI590 635

Number of executive officers, principal shareholders, and
directors to whom the amount of all extensions of credit
(including extensions of credit to related interests) equals or

exceeds the lesser of $500,000 or 5 percent of unimpaired
SI595 0

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TFR Schedule SI

Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 17 of 45 PagelD #: 2112

capital and unimpaired surplus (CCR30 + CCR35 +
CCR530 + CCRI05)

Summary of Changes in Equity Capital:

Report in Thousands of

Line Dollars
Beginning Equity Capital ST600 24,509,434
Net Income (Loss) (SO91) S1610 -3,189,457
Dividends Declared:
Preferred Stock S1620 0
Common Stock S1630 0
Stock Issued S1640 0
Stock Retired S1650 0
Capital Contributions (Where No Stock is Issued) S1655 3,000,000
New Basis Accounting Adjustments S1660 0
Other Comprehensive Income $1662 57,957
Prior Period Adjustments $1668 0
Other Adjustments SI1671 1,813
Ending Equity Capital (SC80) (600 + 610 - 620 - 630 + 640 - 650 + 655 + 660
+ 662 + 668 + 671) S1680 24,379,747
Mutual Fund and Annuity Sales: Line sports aa oles
Do you sell private-label or third-party mutual funds and annuities? S1805 Yes
Total Assets you Manage of Proprietary Mutual Funds and Annuities SI815 0
Fee Income from the Sale and Servicing of Mutual Funds and Annuities $1860 45,74]
__ Report in
Average Balance Sheet Data (Based on Month-End Data): Line pees llars

Total Assets

Deposits and Investments Excluding Non-Interest-Earning Items
Mortgage Loans and Mortgage-Backed Securities

Nonmortgage Loans

Deposits and Escrows

Total Borrowings

Line items SI750 and SI760 are not available to the public for individual
institutions.

SI870 313,346,202
SI875 14,680,497
SI880 251,411,750
SI885_ 11,652,037
SI890 190,514,734
SI895 85,318,369

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TFR Schedule CCR
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Washington Mutual Bank .
2273 NORTH GREEN VALLEY PARKWAY Office of Thrift Supervision

Docket Number: 8551 Schedule - CCR

HENDERSON , NV 89014 | 2008 Thrift Financial Report
for the quarter ending: 06/30/2008 | Consolidated Capital Requirement

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(Report in
Thousands of
TIER 1 (CORE) CAPITAL REQUIREMENT: Lines Dollars)
Tier 1 (Core) Capital
Equity Capital (SC80) CCR100 24,379,747
Deduct:
Investments in and Advances to "Nonincludable" Subsidiaries
CCRI05 332,675
Goodwill and Certain Other Intangible Assets
CCRI15 7,381,703
Disallowed Servicing Assets, Disallowed Deferred Tax Assets, Disallowed
Residual Interests, and Other Disallowed Assets
CCR133 384,549
Other
CCR134 0
Add:
Accumulated Losses (Gains) on Certain Available-for-Sale Securities and
Cash Flow Hedges, Net of Taxes CCR180 840,540
Intangible Assets CCRI85 166,175
Minority Interest in Includable Consolidated Subsidiaries Including REIT
Preferred Stock Reported as a Borrowing CCR190 3,911,685
Other CCR195 0
Tier 1 (Core) Capital (100-105-115-133-134+180+185+190+195) CCR20 21,199,220
Adjusted Total Assets
Total Assets (SC60) CCR205 307,021,614
Deduct:
Assets of "Nonincludable" Subsidiaries CCR260 408,503
Goodwill and Certain Other Intangible Assets CCR265 7,604,409
Disallowed Servicing Assets, Disallowed Deferred Tax Assets, Disallowed
Residual Interests, and Other Disallowed Assets CCR270 617,506
Other CCR275 0
Add:
Accumulated Losses (Gains) on Certain Available-for-Sale Securities and
Cash Flow Hedges CCR280 1,270,192

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"TFR Schedule CCR

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Intangible Assets CCR285 283,727
Other CCR290 0
Adjusted Total Assets (205-260-265-270-275+280+285+290) CCR25 299,945,115
Tier 1 (Core) Capital Requirement (25 x 4%) CCR27 11,997,805
(Report in

Thousands of

TOTAL RISK-BASED CAPITAL REQUIREMENT: Lines Dollars)
Tier 1 (Core) Capital (20) CCR30 21,199,220

Tier 2 (Supplementary) Capital:

Unrealized Gains on Available-for-Sale Equity Securities CCR302 0
Qualifying Subordinated Debt and Redeemable Preferred Stock CCR310 6,558,834
Other Equity Instruments CCR340 0
Allowances for Loan and Lease Losses CCR350 3,032,129
Other CCR355 0
Tier 2 (Supplementary) Capital (302 + 310 + 340 + 350 + 355) CCR33 9,590,963
Allowable Tier 2 (Supplementary) Capital CCR35 9,590,963
Equity Investments and Other Assets Required to be Deducted CCR370 9,609
Deduction for Low-Level Recourse and Residual Interests CCR375 1,267,201
Total Risk-based Capital (30 + 35 - 370 - 375) CCR39 29,513,373

Risk-Weight Categories
0% Risk-Weight:

Cash CCR400 900,924
Securities Backed by Full Faith and Credit of U.S. Government CCR405 353,600
Notes and Obligations of FDIC, Including Covered Assets CCR409 0
Other CCR415 125,459
Total (400 + 405 + 409 + 415) CCR420 1,379,983
0% Risk-Weight Total (420 x 0%) CCR40 0

20% Risk-Weight:

Mortgage and Asset-Backed Securities Eligible for 20% Risk Weight CCR430 17,501,100
Claims on FHLBs CCR435 4,947,322
General Obligations of State and Local Governments CCR440 679,494
Claims on Domestic Depository Institutions CCR445 4,233,886

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TFR Schedule CCR
Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 20 of 45 PagelD #: 2115
Other CCR450 5,927,465
Total (430 + 435 + 440 + 445 + 450) CCR455 33,289,267
20% Risk-Weight Total (455 x 20%) CCR45 6,657,853

50% Risk-Weight:

Qualifying Single-Family Residential Mortgage Loans CCR460 121,417,604
Qualifying Multifamily Residential Mortgage Loans CCR465 7,311,323
Mortgage and Asset-Backed Securites Eligible for 50% Risk Weight CCR470 1,203,295
State and Local Revenue Bonds CCR475 744,058
Other CCR480 10,999,505
Total (460 + 465 + 470 + 475 + 480) CCR485 141,675,785
50% Risk-Weight Total (485 x 50%) CCR50 70,837,893

100% Risk-Weight:
Securities Risk Weighted at 100% (or More) Under the Ratings-Based

CCRSO1 2,186,978
Approach
All Other Assets CCR506 162,887,602
Total (501 + 506) CCRS510 165,074,580
100% Risk-Weight Total (510 x 100%) CCRS55 165,074,580
Amount of Low-Level Recourse and Residual Interests Before Risk-Weighting CCR605 0
Risk-Weighted Assets for Low-Level Recourse and Residual Interests (605 x CCRE2 0
12.50)
Assets to Risk-Weight (420 + 455 + 485 + 510 + 605) CCR64 341,419,615
Subtotal Risk-Weighted Assets (40 + 45 + 50 + 55 + 62) CCR75 242,570,326
Excess Allowances for Loan and Lease Losses CCR530 5,403,270
Total Risk-Weighted Assets (75 - 530) CCR78 237,167,056
Total Risk-Based Capital Requirement (78 x 8%) CCR80 18,973,364

CAPITAL AND PROMPT CORRECTIVE ACTION RATIOS:
Tier 1 (Core) Capital Ratio CCR810 7.07%
(Tier 1 (Core) Capital / Adjusted Total Assets)

Total Risk-Based Capital Ratio CCR820 12.44%
(Total Risk-Based Capital / Risk-Weighted Assets)

Tier 1 Risk-Based Capital Ratio CCR830 8.40 %

((Tier 1 (Core) Capital — Deduction for Low-level Recourse and Residual
Interests) / Risk-Weighted Assets)

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"TFR Schedule CCR

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Tangible Equity Ratio CCR840 7.02 %
((Tangible Capital + Cumulative Perpetual Preferred Stock) / Tangible Assets)

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Washington Mutual Bank FSB

6250 NORTH SAGEWOOD DRIVE Office of Thrift Supervision
PARK CITY , UT 84098 2008 Thrift Financial Report
Docket Number: 11905 Schedule - SC

for the quarter ending: 06/30/2008 Consolidated Statement of Condition

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(Report in
Thousands
ASSETS Lines of Dollars)
Cash, Deposits, and Investment Securities: Total SC1I1 7,160,335
Cash and Non-Interest-Earning Deposits SC110 101,528
Interest-Earning Deposits in FHLBs S$C112 1,248
Other Interest-Earning Deposits SC118 0
Federal Funds Sold and Securities Purchased Under Agreements to Resell SC125 0
U.S. Government, Agency, and Sponsored Enterprise Securities SC130 3,362,053
Equity Securities Subject to FASB Statement No. 115 SC140 74
State and Municipal Obligations SC180 1,400,726
Securities Backed by Nonmortgage Loans SC182 1,059,221
Other Investment Securities SC185 1,196,729
Accrued Interest Receivable SC191 38,756
Mortgage-Backed Securities: Total SC22 16,877,894
Pass-Through:
Insured or Guaranteed by an Agency or Sponsored Enterprise of the U.S. $C210 5,124,697
Other Pass-Through $C215 1,328
Other Mortgage-Backed Securities (Excluding Bonds):
Issued or Guaranteed by FNMA, FHLMC, or GNMA SC217 2,547,923
Collateralized by Mortgage-Backed Securities Issued or Guaranteed by FNMA, 0
FHLMC, or GNMA $C219
Other SC222 9,125,023
Accrued Interest Receivable $C228 78,923
General Valuation Allowances S$C229 0
Mortgage Loans: Total SC26 8,644,219
Construction Loans on:
1-4 Dwelling Units S$C230 0
Multifamily (5 or More) Dwelling Units S$C235 0
Nonresidential Property SC240 0

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Permanent Mortgages on:
1-4 Dwelling Units:

Revolving, Open-End Loans SC251 285,807
All Other:
Secured by First Liens SC254 88,670
Secured by Junior Liens SC255 6,320
Multifamily (5 or More) Dwelling Units SC256 8,281,808
Nonresidential Property (Except Land) SC260 480
Land SC265 4,137
Accrued Interest Receivable SC272 40,874
Advances for Taxes and Insurance SC275 0
Allowance for Loan and Lease Losses SC283 63,877
Nonmortgage Loans: Total SC31 11,898,262
Commercial Loans: Total SC32 11,894,794
Secured $C300 258
Unsecured SC303 11,894,536
Lease Receivables SC306 0
Consumer Loans: Total SC35 4,372
Loans on Deposits $C310 17
Home Improvement Loans (Not secured by real estate) SC316 0
Education Loans S$C320 0
Auto Loans $C323 2
Mobile Home Loans SC326 0
Credit Cards SC328 0
Other, Including Lease Receivables SC330 4,353
Accrued Interest Receivable SC348 10
Allowance for Loan and Lease Losses SC357 914
Repossessed Assets: Total SC40 253
Real Estate:
Construction S$C405 0
1-4 Dwelling Units SC415 253
Multifamily (5 or More) Dwelling Units S$C425 0
Nonresidential (Except Land) SC426 0
Land SC428 0
U.S. Government-Guaranteed or -Insured Real Estate Owned S$C429 0

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Other Repossessed Assets SC430 0
General Valuation Allowances SC44] 0
Real Estate Held for Investment SC45 0
Equity Investments Not Subject to FASB Statement No. 115: Total SC31 676,707
Federal Home Loan Bank Stock S$C510 676,501
Other S$C540 206
Office Premises and Equipment SC55 8,641
Other Assets: Total SC59 781,696
Bank-Owned Life Insurance:
Key Person Life Insurance SC615 0
Other SC625 0
Intangible Assets:
Servicing Assets On:
Mortgage Loans SC642 0
Nonmortgage Loans SC644 0
Goodwill and Other Intangible Assets SC660 110
Interest-Only Strip Receivables and Certain Other Instruments SC665 0
Other Assets SC689 781,586
Memo: Detail of Other Assets
Code Amount
SC69] 4 SC692 728,096
S$C693 14 SC694 22,818
$C697 13 SC698 20,621
Report in
Thousands of
Line Dollars
General Valuation Allowances SC699 0
Total Assets SC60 46,048,007
LIABILITIES
Deposits and Escrows: Total SC71 4,809,310
Deposits SC710 4,809,638
Escrows S$C712 6,880
Unamortized Yield Adjustments on Deposits and Escrows SC715 -7,208
Borrowings: Total SC72 10,712,608
Advances from FHLBank S$C720 10,712,439
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TFR Schedule SC

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Federal Funds Purchased and Securities Sold Under Agreements to Repurchase SC730 169
Subordinated Debentures (Including Mandatory Convertible Securities and 0
Limited-Life Preferred Stock) SC736
Mortgage Collateralized Securities Issued:
CMOs (including REMICs) SC740 0
Other Borrowings SC760 0
Other Liabilities: Total SC75 = 1,296,102
Accrued Interest Payable - Deposits SC763 20,073
Accrued Interest Payable - Other SC766 74,193
Accrued Taxes SC776 59,775
Accounts Payable SC780 1,182
Deferred Income Taxes SC790 0
Other Liabilities and Deferred Income SC796 1,140,879
Memo: Detail of Other Liabilities
Code Amount
SC791 10 SC792_ 1,138,117
SC794 18 SC795 1,500
SC797 11 SC798 513
Report in
Thousands of
Line Dollars
Total Liabilities SC70 16,818,020
Minority Interest SC800 0
(Report in
line Thousands of
Doliars)
EQUITY CAPITAL
Perpetual Preferred Stock:
Cumulative SC812 0
Noncumulative SC814 0

Common Stock:

Par Value SC820 0
Paid in Excess of Par SC830 29,392,778
Accumulated Other Comprehensive Income: Total SC86 -781,084
Unrealized Gains (Losses) on Available-for-Sale Securities SC860 -781,084
Gains (Losses) on Cash Flow Hedges SC865 0
Other SC870 0

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Retained Earnings SC880 618,293
Other Components of Equity Capital SC891 0
Total Equity Capital SC80 29,229,987
Total Liabilities, Minority Interest, and Equity Capital SC90 46,048,007

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Washington Mutual Bank FSB

6250 NORTH SAGEWOOD DRIVE Office of Thrift Supervision
PARK CITY , UT 84098 2008 Thrift Financial Report
Docket Number: 11905 Schedule - SO

for the quarter ending: 06/30/2008 Consolidated Statement of Operations

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Lines
Interest Income: Total SOl1
Deposits and Investment Securities SO1I5
Mortgage-Backed Securities $0125
Mortgage Loans SO141
Prepayment Fees, Late Fees, and Assumption Fees for Mortgage Loans $0142
Nonmortgage Loans:
Commercial Loans and Leases SO160
Prepayment Fees, Late Fees, and Assumption Fees for Commercial Loans SO162
Consumer Loans and Leases SO171
Prepayment Fees, Late Fees, and Assumption Fees for Consumer Loans SO172
Dividend Income on Equity Investments Not Subject to FASB Total
Statement No. 115: S018
Federal Home Loan Bank Stock SO181
Other SO185
Interest Expense: Total SO21
Deposits $0215
Escrows $0225
Advances from FHLBank $0230
Subordinated Debentures (Including Mandatory Convertible Securities) $0240
Mortgage Collateralized Securities Issued $0250
Other Borrowed Money $0260
Capitalized Interest $0271
Net Interest Income (Expense) Before Provision for Losses on Interest-Bearing
Assets SO312
Net Provision for Losses on Interest-Bearing Assets SO321
Net Interest Income (Expense) After Provision for Losses on Interest-Bearing
Assets $0332

(Report in
Thousands
of Dollars)

For the
Quarter

507,870
77,547
245,477
138,824
1,128

44,744

109,157
26,408

1
82,747
0

0

1

0
401,150

-14,634

415,784

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TFR Schedule SO

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Noninterest Income: Total SO42 -298,761
Mortgage Loan Servicing Fees $0410 0
Amortization of and Fair Value Adjustments to Loan Servicing Assets and Loan

Servicing Liabilities SO411 0
Other Fees and Charges $0420 16,769
Net Income (Loss) from:

Sale of Assets Held for Sale and Available-for-Sale Securities $0430 -315,625
Operations and Sale of Repossessed Assets $0461 21
LOCOM Adjustments Made to Assets Held for Sale $0465 0
Sale of Securities Held-to-Maturity $0467 0
Sale of Loans Held for Investment $0475 0
Sale of Other Assets Held for Investment $0477 0
Gains and Losses on Financial Assets and Liabilities Carried at Fair Value $0485 27
Other Noninterest Income $0488 47
Memo: Detail of Other Noninterest Income
Code Amount

$0489 99 $0492 47

$0495 0 $0496 0

$0497 0 $0498 0
Report in
Thousands
Line of Dollars

Noninterest Expense: Total SOS! 25,721
All Personnel Compensation and Expense SO510 2,875
Legal Expense $0520 15
Office Occupancy and Equipment Expense $0530 1,002
Marketing and Other Professional Services $0540 16,324
Loan Servicing Fees $0550 0
Goodwill and Other Intangibles Expense SO560 0
Net Provision for Losses on Non-Interest-Bearing Assets $0570 0
Other Noninterest Expense $0580 5,505

Memo: Detail of Other Noninterest Expense
Code Amount

SO581 99 $0582 3,261

$0583 13 $0584 1,375

$0585 99 $0586 320
Report in
Thousands
Line of Dollars
Income (Loss) Before Income Taxes: S060 91,302

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Case 1:19-cv-00775-RGA Document 24 Filed 08/13/19 Page 29 or 45 PagelD #: 2124
Inco :
ete ass: Total SO71 29,987
era SO710 26,095
State, Local, and Other $0720 3,892
Income (Loss) Before Extraordinary Items and Effects of Accounting Changes SO81 61,315

Extraordinary Items, Net of Tax Effect, and Cumulative Effect of Changes in
Accounting Principles S081 1 0

NET INCOME (LOSS) SO91 61,315

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Washington Mutual Bank FSB | Office of Thrift Supervision

6250 NORTH SAGEWOOD DRIVE | 2008 Thrift Financial Report

PARK CITY , UT84098 Schedule - VA

Docket Number: 11905 Consolidated Valuation Allowances and Related Data

for the quarter ending: 06/30/2008

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(Report in Thousands of Dollars for the Quarter)

Reconciliation Valuation Allowances
General Specific Total
Beginning Balance VA105 VA108 VA110
80,847 0 80,847
Add or Deduct:
Net Provision for Loss VALIS5 VAII8 VA120
-14,634 0 ~14,634
Transfers VAI25 VA128
0 0
Add:
Recoveries VA135 VA140
9 9
Adjustments VAI45 VA148 VA150
0 0 0
Deduct:
Charge-offs VAI55 VAI58 VA160
1,431 0 1,431
Ending Balance VA165 VAI68 VA170
64,791 0 64,791

Charge-offs, Recoveries, and Specific Valuation Allowance Activity
(Report in Thousands of Dollars for the Quarter)

Specific
Valuation
General Valuation Allowance
Allowances Provisions

& Transfers
from General
Charge-Offs Recoveries Allowances Adjusted Net

(VA155) (VA135) (VA118+VA128) Charge-offs
Deposits and Investment Securities VA38 VA39
0 0
Mortgage-Backed Securities VA370 VA371 VA372 VA375
0 0 0 0

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Mortgage Loans: Total VA46 VA47 VA48 VA49
1,334 2 0 1,332
Construction:
1-4 Dwelling Units VA420 VA421 VA422 VA425
0 0 0 0
Unite (5 or More) Dwelling VA430 VA431 VA432 VA435
0 0 0 0
Nonresidential Property VA440 VA441 VA442 VA445
0 0 0 0
Permanent:
1-4 Dwelling Units:
Revolving, Open-End Loans VA446 VA447 VA448 VA449
1,334 2 0 1,332
All Other:
Secured by First Liens VA456 VA457 VA458 VA459
0 0 0 0
Secured by Junior Liens VA466 VA467 VA468 VA469
0 0 0 0
Unite (5 or More) Dwelling VA470 VA471 VA472 VA475
0 0 0 0
land Property (Except VA480 VA481 VA482 VA485
0 0 0 0
Land VA490 VA491 VA492 VA495
0 0 0 0
Nonmortgage Loans: Total VA56 VA57 VA58 VAS9
97 7 0 90
Commercial Loans VA520 VA521 VA522 VAS5S25
50 2 0 48
Consumer Loans:
Loans on Deposits VAS510 VASII VAS12 VAS15
0 0 0 0
Home Improvement Loans VA516 VAS517 VA518 VAS519
0 0 0 0
Education Loans VA530 VAS31 VA532 VA535
0 0 0 0
Auto Loans VAS40 VAS41 VA542 VAS545
0 0 0 0
Mobile Home Loans VA550 VASSI VA552 VA555

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° 0 0 0 0
Credit Cards VA556 VA557 VA558 VASS9
0 0 0 0
Other VA560 VA561 VA562 VA565
47 5 0 42
Repossessed Assets: Total VA60 VA62 - VA65
0 0 0
Real Estate:
Construction VA605 VA606 VA607
0 0 0
1-4 Dwelling Units VA613 VA614 VA615
0 0 0
ote (5 or More) Dwelling VA6I6 VA617 VA618
0 0 0
Nonresidential (Except Land) VA625 VA626 VA627
0 0 0
Land VA628 VA629 VA631
0 0 0
Other Repossessed Assets VA630 VA632 VA633
0 0 0
Real Estate Held for Investment VA72 VA75
0 0
Eee amertannts Not Select van. —_VARRS
0 0
Other Assets VA930 VA931 VA932 VA935
0 0 0 0
OTHER ITEMS
(Report in
Thousands
of Dollars)
Troubled Debt Restructured:
Amount this Quarter VA940 1,085
Amount Included in Schedule SC in Compliance with Modified Terms VA942 7,133
Mortgage Loans Foreclosed During the Quarter: Total VA95 121
Construction VA951 0
Permanent Loans Secured By:
1-4 Dwelling Units VA952 121
Multifamily (5 or More) Dwelling Units VA953 0
Nonresidential (Except Land) VA954 0
Land VA955 0

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~TFR Schedule VA

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Purchased Impaired Loans Held for Investment Accounted for in Accordance with
AICPA SOP 03-3 (Exclude Loans Held for Sale):

Outstanding Balance (Contractual) VA980 0
Recorded Investment (Carrying Amount Before Deducting Any Loan Loss Allowances) VA981
Allowance Amount Included in Allowance for Loan and Lease Losses (SC283, SC357) VA985 0

o

Line items VA960 through VA975 are not available to the public for individual
institutions.

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6250 NORTH SAGEWOOD DRIVE Office of Thrift Supervision
PARK CITY , UT 84098 2008 Thrift Financial Report
Docket Number: 11905 | Schedule - SI

for the quarter ending: 06/30/2008 Consolidated Supplemental Information

Washington Mutual Bank FSB |
|
|

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(Report in
Thousands of
Miscellaneous: Lines Dollars)
Number of Full-time Equivalent Employees SI370 187
Financial Assets Held for Trading Purposes S1375 12,577
Financial Assets Carried at Fair Value Through Earnings $1376 12,577
Financial Liabilities Carried at Fair Value Through Earnings $1377 0
Available-for-Sale Securities S$B85 21,808,910
Assets Held for Sale S1387 0
Loans Serviced for Others $1390 0
Residual Interests:
Residual Interests in the Form of Interest-Only Strips S1402 0
Other Residual Interests S1404 29,386
Qualified Thrift Lender Test:
Actual Thrift Investment Percentage at Month-end:
First Month of Quarter $1581 87.43 %
Second Month of Quarter SI582 77.23 %
Third Month of Quarter $1583 69.23 %
IRS Domestic Building and Loan Test:
Percent of Assets Test SIS85 0.00 %
Do you meet the DBLA business operations test? SI586 No
Aggregate Investment in Service Corporations S1588 0

Extensions of credit by the reporting association (and its controlled
subsidiaries) to its executive officers, principal shareholders, directors, and Report i

. . eport in Thousands of
their related interests as of the report date: Line Dollars

Aggregate amount of all extensions of credit SI590 0

Number of executive officers, principal shareholders, and
directors to whom the amount of all extensions of credit
(including extensions of credit to related interests) equals or

exceeds the lesser of $500,000 or 5 percent of unimpaired
S1595 0

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* TFR Schedule SI

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capital and unimpaired surplus (CCR30 + CCR35 +

CCR530 + CCR105)
Report in Thousands of
Summary of Changes in Equity Capital: Line Dollars
Beginning Equity Capital S1600 29,233,170
Net Income (Loss) (SO91) S1610 61,315
Dividends Declared:
Preferred Stock $1620 0
Common Stock S1630 0
Stock Issued S1640 0
Stock Retired $1650 0
Capital Contributions (Where No Stock is Issued) $1655 0
New Basis Accounting Adjustments $1660 0
Other Comprehensive Income $1662 -64,498
Prior Period Adjustments SI668 0
Other Adjustments $1671 0
Ending Equity Capital (SC80) (600 + 610 - 620 - 630 + 640 - 650 + 655 + 660
+ 662 + 668 + 671) S1680 29,229,987
Mutual Fund and Annuity Sales: Line “eon “pr Dollar
Do you sell private-label or third-party mutual funds and annuities? SI805 No
Total Assets you Manage of Proprietary Mutual Funds and Annuities SI815 0
Fee Income from the Sale and Servicing of Mutual Funds and Annuities SI860 0
. Report in
Average Balance Sheet Data (Based on Month-End Data): Line ee polls
Total Assets S1870 44,978,598
Deposits and Investments Excluding Non-Interest-Earning Items SI875 9,383,326
Mortgage Loans and Mortgage-Backed Securities SI880 25,693,271
Nonmortgage Loans SI885 8,674,109
Deposits and Escrows S1890 3,129,206
Total Borrowings SI895 11,471,451

Line items SI750 and SI760 are not available to the public for individual institutions.

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- TFR Schedule CCR

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Washington Mutual Bank FSB

6250 NORTH SAGE WOOD DRIVE Office of Thrift Supervision
PARK CITY , UT 84098 2008 Thrift Financial Report
Docket Number: 11905 Schedule - CCR

for the quarter ending: 06/30/2008 Consolidated Capital Requirement

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(Report in
Thousands of
TIER 1 (CORE) CAPITAL REQUIREMENT: Lines Dollars)
Tier 1 (Core) Capital
Equity Capital (SC80) CCRI100 29,229,987
Deduct:
Investments in and Advances to "Nonincludable" Subsidiaries
CCR105 0
Goodwill and Certain Other Intangible Assets
CCRI15 109
Disallowed Servicing Assets, Disallowed Deferred Tax Assets, Disallowed
Residual Interests, and Other Disallowed Assets
CCR133 0
Other
CCRI134 0
Add:
Accumulated Losses (Gains) on Certain Available-for-Sale Securities and
Cash Flow Hedges, Net of Taxes CCR180 781,070
Intangible Assets CCRI85 0
Minority Interest in Includable Consolidated Subsidiaries Including REIT
Preferred Stock Reported as a Borrowing CCR190 0
Other CCRI95 0
Tier 1 (Core) Capital (100-105-115-133-134+180+185+190+195) CCR20 30,010,948
Adjusted Total Assets
Total Assets (SC60) CCR205 46,048,007
Deduct:
Assets of "Nonincludable" Subsidiaries CCR260 0
Goodwill and Certain Other Intangible Assets CCR265 109
Disallowed Servicing Assets, Disallowed Deferred Tax Assets, Disallowed
Residual Interests, and Other Disallowed Assets CCR270 0
Other CCR275 0
Add:
Accumulated Losses (Gains) on Certain Available-for-Sale Securities and
Cash Flow Hedges CCR280 1,254,236

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Intangible Assets CCR285 0
Other CCR290 0
Adjusted Total Assets (205-260-265-270-275+280+285+290) CCR25 47,302,134
Tier 1 (Core) Capital Requirement (25 x 4%) CCR27 1,892,085
(Report in
Thousands of
TOTAL RISK-BASED CAPITAL REQUIREMENT: Lines Dollars)
Tier 1 (Core) Capital (20) CCR30 30,010,948
Tier 2 (Supplementary) Capital:
Unrealized Gains on Available-for-Sale Equity Securities CCR302 0
Qualifying Subordinated Debt and Redeemable Preferred Stock CCR310 0
Other Equity Instruments CCR340 0
Allowances for Loan and Lease Losses CCR350 65,032
Other CCR355 0
Tier 2 (Supplementary) Capital (302 + 310 + 340 + 350 + 355) CCR33 65,032
Allowable Tier 2 (Supplementary) Capital CCR35 65,032
Equity Investments and Other Assets Required to be Deducted CCR370 0
Deduction for Low-Level Recourse and Residual Interests CCR375 34,728
Total Risk-based Capital (30 + 35 - 370 - 375) CCR39 30,041,252
Risk-Weight Categories
0% Risk-Weight:
Cash CCR400 5,638
Securities Backed by Full Faith and Credit of U.S. Government CCR405 297,889
Notes and Obligations of FDIC, Including Covered Assets CCR409 0
Other CCR415 1,970
Total (400 + 405 + 409 + 415) CCR420 305,497
0% Risk-Weight Total (420 x 0%) CCR40 0

20% Risk-Weight:

Mortgage and Asset-Backed Securities Eligible for 20% Risk Weight CCR430 17,898,656
Claims on FHLBs CCR435 2,125,392
General Obligations of State and Local Governments CCR440 679,494
Claims on Domestic Depository Institutions CCR445 13,559,609

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* TFR Schedule CCR

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Other CCR450 1,799,469
Total (430 + 435 + 440 + 445 + 450) CCR455 36,062,620
20% Risk-Weight Total (455 x 20%) CCR45 7,212,524

50% Risk-Weight:

Qualifying Single-Family Residential Mortgage Loans CCR460 198,772
Qualifying Multifamily Residential Mortgage Loans CCR465 2,276,016
Mortgage and Asset-Backed Securites Eligible for 50% Risk Weight CCR470 148,711
State and Local Revenue Bonds CCR475 744,057
Other CCR480 43,399
Total (460 + 465 + 470 + 475 + 480) CCR485 3,410,955
50% Risk-Weight Total (485 x 50%) CCR50 1,705,478

100% Risk-Weight:
Securities Risk Weighted at 100% (or More) Under the Ratings-Based

Approach CCRS01 196,793
All Other Assets CCR506 9,026,166
Total (501 + 506) CCR510 9,222,959

100% Risk-Weight Total (510 x 100%) CCRS5S5 9,222,959
Amount of Low-Level Recourse and Residual Interests Before Risk-Weighting CCR605 0

Risk-Weighted Assets for Low-Level Recourse and Residual Interests (605 x CCR62 0

12.50)

Assets to Risk-Weight (420 + 455 + 485 + 510 + 605) CCR64 49,002,031

Subtotal Risk-Weighted Assets (40 + 45 + 50 + 55 + 62) CCR75 18,140,961
Excess Allowances for Loan and Lease Losses CCR530 0

Total Risk-Weighted Assets (75 - 530) CCR78 18,140,961

Total Risk-Based Capital Requirement (78 x 8%) CCR80 1,451,277

CAPITAL AND PROMPT CORRECTIVE ACTION RATIOS:
Tier | (Core) Capital Ratio CCR810 63.45 %
(Tier 1 (Core) Capital / Adjusted Total Assets)

Total Risk-Based Capital Ratio CCR820 165.60 %
(Total Risk-Based Capital / Risk- Weighted Assets)

Tier 1 Risk-Based Capital Ratio CCR830 165.24 %

((Tier 1 (Core) Capital - Deduction for Low-level Recourse and Residual
Interests) / Risk-Weighted Assets)

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Tangible Equity Ratio CCR840
((Tangible Capital + Cumulative Perpetual Preferred Stock) / Tangible Assets)

63.45 %

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Exhibit C
Year Retained Retained SEC Source:
Interest Interests in Filing
in MBS Credit Card
(in Securitizations
billions) (in billions)
2000 $3,996 10-K https:/Avww.otcmarkets.com/filing/himl?id=5207 i&guid=wS 3UW.
GktwOhf3h (p.73)
2001 $6,880 10-K https:/Avww.otcmarkets.com/filing/himl?id=1797462&euid=wS 3UW
GktwOhth (p. 82)
2002 $10,780 10-K hitps:/Awww.otemarkets.com/iling/himl?id=2206372&guid=wS_ 3UW
GktwOhf3h (p. 39)
2003 $9,996 10-Q hitps:/Avww.olemarkets.com/filing/him!?id=23060 3 &guid=wS 3UW
(First) GktwOhf3h (p.32)
2003 $9,200 10-Q https://www.otcmarkets.com/filing/html?id=2443906&guid=wS 3UW
(Second GktwOht3h (p. 39)
)
2003 $4,180 10-Q
(Third)
2003 $2,360 10-K hitps:/Avww-.otemarkets.com/filing/html ?id=283 1653 &guid=wS 3UW.
GktwOhf3h (p. 45)
2004 $2,120 10-Q https:/Avww.otemarkets.com/filing/html?id=2953832&puid=wS 3UW
(First) GktwOhi3h (p. 40)
2004 . $1,770 10-Q https:/Avww-.otemarkets.com/filing/html?id=3 112217 &guid=zv_3U6E
(Second IXgkqi3h (p. 47)
)
2004 $1,790 10-Q hitps:/Avwww.otcmarkets.com/filing/html?id=32709 15&euid=zv_3U6E
(Third) [XgKqj3h (p. 47)
2004 $1,620 10-K https:/Awww.otemarkets.com/filing/html?id=3 536003 &guid=zv_3U6E
iXeKqi3h (p. 52)
2005 $1,770 10-Q https://Awww.otemarkets.com/filing/him!?id=3663289&guid=zv_ 3U6E
(First) IXgKqji3h (p. 43)
2005 = $1,830 10-Q hitps:/Avww.otemarkets.com/tiling/html?id=3 8425 3 &euid=zv_3U6E
(Second IXekqj3h (p. 49)
)
2005 $1,940 10-Q https:/Awww.otcmarkets.com/filing/html?id=3997941 &guid=zv_3U6E
(Third) UxXgKqj3h (p. 45)
2005 $2,800 $1,640 10-K https:/Avww.olcmarkets.com/filing/html?id=4277397&guid=zv_3U6E
[xgk ish (p. 47)
2006 $2,260 $1,750 10-Q hitps:/Avww.otemarkets.com/filing/him]?id=4408097 & guid=jmR3UW
(First) UI18iFmnEh (p. 47)
2006 $2,270 $1,740 10-Q https:/Avww.otemarkets.com/filing/html?id=4587552&guid=|mR3UW
(Second U18iFmnEh (p. 38)
)
2006 $1,980 $1,720 10-Q https:/Avww.otcmarkets.com/filing/html?id=4754508& guid=jmR3IUW
(Third) U18iFmnkh (p. 57)
2006 $1,900 $1,470 10-K https:/Avww.otcmarkets.com/filing/html?id=5003677&guid=jmR3U W
UI8lEmnEh (p. 45)
2007 $2,710 $1,430 10-Q https://Awww.otcmarkets.com/filing/html ?id=5 168665 & guid=jmR3UW
(First) Ul8lFmnEh (p. 42)
2007 $2,920 $1,590 10-Q hitps://www.otcmarkets.com/filing/himl?id=5358076&guid=jmR3UW
(Second Ul8iFmnEh (p. 43)
)
2007 $2,290 $1,680 10-Q hitps:/Avww.otemarkets.com/filing/htmi ?id=55323 86&2uid=|mR3UW
(Third)  Ul8IFmaEh (p. 50)

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$1.710
$1,440

1,230

$116,552

$1,840
$1,830

$1,560

$18,250

(Second
)

https:/Avww.otemarkets.com/filing/html?id=5 769335 &euld=jmR3UW
U18IFmnEh (p. 48)
https:/Avww.otemarkets.com/filing/htm)2id=5927846&ouid=imR3UW
UlsiEmnEh (p. 48)
hutps:/Avww.otcmarkets.com/filing/htm|?id=6093 324 & guid=;|mR3UW
Ui8tEmnEh (p. 60)

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Exhibit D
Dramatis Personae

William Kosturos, Liquidating Trustee

William Kosturos is a Managing Director of Alvarez & Marsal, the world’s premier restructuring
consultancy. He became Washington Mutual, Inc.’s Chief Restructuring Officer in 2008 and the
Liquidating Trustee of the WMI Liquidating Trust (the “Trust”), WMI’s successor, in 2012.

Mr. Kosturos has been closely allied with the Settlement Noteholders (defined below) since at least
2010 and this intimacy may have been a factor in Mr. Kosturos’ selection as Trustee.! This connection may
be extant and the Settlement Noteholders — as more equal animals on the farm — may have known about the
March 28, 2013 stipulation between the Trust and the Underwriters (defined below) prior to its execution

and/or seen it prior to its release to Griffin and other Trust beneficiaries in April 2019.

The Settlement Noteholders

During the early stages of the Debtors’ cases, William Kosturos admitted that four hedge funds
were very active in the case.* These hedge funds — Appaloosa Management, L.P. (“Appaloosa”), Aurelius
Capital Management LP (“Aurelius”), Centerbridge Partners, LP (“Centerbridge”), and Owl Creek Asset
Management, L.P. (“Owl Creek”), and their respective affiliates (collectively, the “Settlement

Noteholders”) — held claims senior to equity and were adverse to retail equity receiving any recovery.

' Among the evidence presented by Official Committee of Equity Security Holders of Washington Mutual, Inc. (the
“Equity Committee”) in its closing arguments is an email dated March 9, 2010 at 2:08 p.m. from Brian Rosen, counsel
for the Debtors, to Brad Eric Scheler of Fried, Frank, Harris, Shriver & Jacobson LLP (“Fried Frank”), counsel for
the Settlement Noteholders, and William Kosturos. See ‘Closing Arguments of the Equity Committee’, December
20, 2010, p. 27: hitps:/Avww.scribd.com/document/633 19846/Washington-Mutual-WMI-Closing-Argument-of-the-
Equity-Committee- | st-Confirmation-Hearing-in-December-2010 (“Closing Arguments of EC”). Lawyers are fierce
in protecting their clients against any loss of the attorney-client privilege and against committing any breach of same.
Accordingly, when Mr. Rosen referred to the Settlement Noteholders as “your clients” in that email, Mr. Rosen knew
that Mr. Scheler and Mr. Kosturos were. as their counsel and restructuring professional, respectively, in the complete
confidence of the Settlement Noteholders as to matters concerning the Debtors. The March 9" email is notable because
in an earlier email dated February 9, 2010 at 9:38 a.m. from Scheler to Messrs. Kosturos and Rosen, Scheler refers to
the Settlement Noteholders as his — not Messrs. Kosturos’ and Rosen’s — clients. Obviously, in the one-month period
Mr. Rosen came to view Mr. Kosturos as closely allied with the Settlement Noteholders. By the end of 2010, Mr.
Kosturos admitted that the Settlement Noteholders were the chief architects of the Plan. See ‘Closing Arguments of
the Equity Committee’, December 20, 2010, p. 23.

* See ‘Closing Arguments of the Equity Committee’, December 20, 2010, p. 23.

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Upon information and belief, David Tepper leads Appaloosa, Mark Brodsky leads Aurelius, Mark
Gallogly leads Centerbridge, and Jeffrey Altman leads Owl Creek. Appaloosa’s holdings of Trust interests
is approximately $850,000,000 face, or 8.5% of the entire Trust residual.

The TPS Group

The TPS Group was a coterie of hedge funds who owned a substantial position in Class 19 (i.e.,
preferred equity interests). The TPS Group was very active during the pre-confirmation phase of the
Debtors’ cases and its efforts resulted in the allocation of the residual going from 70% for preferred and
30% for common to 75% for preferred and 25% for common. The leader of this group is Greywolf Capital
Management LP, which is led by Jonathan Savitz (“Savitz”). Greywolf has approximately $875,000,000

face in Trust interests, or 8.75% of the entire Trust residual.

Texas Pacific Group

Texas Pacific Group (“TPG”) invested for itself and a group of investors approximately $7 billion
in WMI just six months before the seizure at $8.75 per common share, which translated into 800,000,000
shares of WMI common. Assuming all of those shares were released TPG controls two-thirds of the 1.2
million shares of WMI common comprising Class 22. WMI common, Class 22, holds 25% of the Trust
residual, which means that TPG holds 16.7% of the Trust residual through its Class 22 holdings. In addition,
TPG disclosed in 2008 that it also held an undisclosed amount of WMI preferred. If it released its preferred
at confirmation, then TPG is also a member of Class 19.7 David Bonderman, a former member of WMI’s

board of directors, is TPG’s Founding Partner.

The Underwriters

Fifteen securities firms who underwrote certain securities of WMI (the “Underwriters” filed claims
against WMI for legal expenses and settlement payouts to investors for losses from WMI-issued securities.‘

Specifically the claims were for $24 million in legal expenses and $72 million in settlement payouts.

3 See Notice of Substantial Stock Ownership (Bankr. DI. 301):
http://www. keclle.net/wamu/document/08 1222908 Li 1700000000000

* The Underwriters are: Morgan Stanley & Co., Incorporated (43.36%), Credit Suisse Securities (USA) LLC (22.38%),
Goldman, Sachs & Co. (11.68%), UBS Securities LLC (6.68%), Barclays Capital Inc. (4.7%), Deutsche Bank
Securities Inc. (2.62%), J.P. Morgan Securities Inc. (1.98%), Citigroup Global Markets Inc. (1.64%), Greenwich
Capital Markets, Inc. (1.64%), Keefe, Bruyette & Woods, Inc. (1.01%), Cabrera Capital Markets, LLC (.67%), The
Williams Capital Group. L.P. (.67%), Banc of America Securities LLC (34%), BNY Capital Markets, Inc. (.33%),
and Samuel A. Ramirez & Company, Inc. (.33%). (The percentage adjacent to each Underwriters’ name is its portion
of the $72 million claim.)

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Initially the Debtors resisted but on February 3, 2011 the Debtors, agreed to settle the claims. The terms
were (a) an immediate payout of $250,000, (b) a $24 million claim in Class 18 (class of subordinated
creditor claims), and (c) a $72 million claim in Class 20 (then the class of preferred equity which was not
scheduled to receive a distribution). Pursuant to the February 3, 2011 stipulation the Debtors retained their
right to object to the Underwriters’ claims and on September 12, 2012 the Trust as successor to WMI
objected to the Underwriters claims.° Notwithstanding, on March 28, 2013 the Trust settled the claims
pursuant to a stipulation granting the Underwriters a $72 million claim in Class 19 (preferred equity).° The
Underwriters are major liquidity providers and are therefore indispensable to the Settlement Noteholders

and the TPS Group members’ business models.

Summary
Accordingly, at a minimum, three persons, Tepper, Savitz, and David Bonderman, control 34% of
the Trust residual interests and, considering the other Settlement Noteholders and members of the TPS

Group holdings, they and TPG have combined interests that may exceed 50% of the Trust residual.

In addition to owning Trust interests, during the pre-confirmation phase of the Debtors’ cases when
the TPS Group was adverse to the Settlement Noteholders the TPS Group revealed in a court filing that the
Settlement Noteholders own both senior and subordinated WMB bonds, which means that not only do they
have a substantial portion of the Trust’s waterfall but of the failed banks’ waterfall as well.’ This
information threw light on a March 2, 2016 press release regarding the Steering Committee of the Ad Hoc
Committee of Washington Mutual Bank Senior Note Holders (the “Ad Hoc Committee”), a group that
worked to create the tri-party settlement among the FDIC, Deutsche Bank, and JP Morgan dated August
19, 2016 resolving the issues between these parties concerning losses of holders of WMB bonds.® Given
that Mr. Tepper and the other Settlement Noteholders played a key role in negotiating the GSA it is entirely

possible that they are members of the Ad Hoc Committee.

> The September 12, 2012 objection was strident. The Trust’s main argument was that Third Circuit law forbids
payment of indemnification claims to securities underwriters who settle claims rather than litigate them to vindication.

6 As holders of an equity claim the Underwriters will receive .72% of the entire residual no matter how much returns
to the Trust. If their claim was a creditor claim they would be capped at $72 million. The Underwriters’ proofs of
claim indicated they were creditors.

? See ‘Objection of the TPS Consortium to Confirmation of the Sixth Amended Joint Plan of Affiliated Debtors
Pursuant to Chapter 11 of the United States Bankruptcy Code’ (Bankr. DJ. 6020). p. 6, n. 9%
http://www. keclic.net/wamu/document/08 12229101 119000000000071L.

8 See ’An Announcement by the Steering Committee of Ad Hoc Committee of Washington Mutual Bank
Bondholders’: hitps:/Avww.businesswire.com/news/home/20 1603020063 92/en/Announcement-Steering-
Committee-Ad-Hoc-Committee-Washington.

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Upon information and belief, Mr. Tepper and the other Settlement Noteholders negotiated with the
FDIC over the GSA and are probably members of the Ad Hoc Committee. Accordingly, in light of Section
1.183 of the Debtors’ plan of reorganization it is possible that Mr. Tepper and the Settlement Noteholders
(probably joined by Mr. Savitz) could be negotiating with the FDIC on the Trust’s behalf to obtain release
of any MBS in the FDIC’s control. They certainly have sufficient financial incentive to do so. The
aforementioned players are not employees or fiduciaries of the Trust and could negotiate with the FDIC in
connection with their own affairs (i.e., their interests in both waterfalls). As exhaustively discussed in the

Closing Arguments of the EC the Settlement Noteholders do not wait for anyone’s permission to further

their own interests.

